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                                                                       June 11, 2021

         By ECF

         The Honorable John G. Koeltl
         Daniel Patrick Moynihan
         United States Courthouse
         500 Pearl St.
         New York, New York 10007-1312

                  Re: Roche Cyrulnik Freedman LLP v. Cyrulnik, Case No. 1:21-cv-01746 (JGK)

         Dear Judge Koeltl:

                Pursuant to Rule 6.A.2 of Your Honor’s Individual Practices, I write on behalf of
         Defendant Jason Cyrulnik to request permission to file under temporary seal certain documents
         in support of Defendant’s motion to dismiss, which is being filed concurrently herewith.

                Defendant intends to reference and/or exhibit certain documents and information Plaintiff
         contends are confidential and warrant sealing.

                 Although Defendant does not believe the materials warrant sealing, we make this request
         in the interest of affording Plaintiff the opportunity to file a motion for longer-term sealing, to
         which motion Defendant will respond in due course. In accordance with Rule 6.A.2 of your
         Honor’s Individual Practices, we have notified Plaintiff of its obligation to file a letter within
         three days explaining the need to seal the materials.

                  We thank the Court for its consideration of this request.

                                                                Respectfully,
                                                                /s/ Gavin D. Schryver
                                                                Gavin D. Schryver

         cc:      Counsel of Record (via ECF)
